

79 W. 12th St. Corp. v Kornblum (2022 NY Slip Op 00351)





79 W. 12th St. Corp. v Kornblum


2022 NY Slip Op 00351


Decided on January 20, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 20, 2022

Before: Kapnick, J.P., Singh, Moulton, Shulman, Higgitt, JJ. 


Index No. 154129/17 Appeal No. 15115 Case No. 2020-04885 

[*1]79 West 12th Street Corp., Plaintiff-Respondent,
vArlene Stein Kornblum et al., Defendants-Appellants.


Patterson Belknap Webb &amp; Tyler LLP, New York (Meghan Larywon of counsel), for appellants.
Kaufman, Friedman, Plotnicki &amp; Grun, LLP, New York (Stanley M. Kaufman of counsel), for respondent.



Order, Supreme Court, New York County (Alexander M. Tisch, J.) entered on or about November 25, 2020, which, to the extent appealed from as limited by the briefs, denied defendants' motion for summary judgment dismissing the cause of action for breach of the proprietary lease by harboring pets without plaintiff's permission, unanimously reversed, on the law, without costs, and the motion granted.
Plaintiff failed to rebut defendants' evidence that the 2010 "Amended and Restated House Rules and Policies and Procedures" (the 2010 house rules) replaced the earlier version of the house rules, which required residents to obtain permission before harboring a pet. Moreover, plaintiff's president's affidavit statement that it was unclear whether the 2010 house rules were adopted failed to raise an issue of fact as to which house rules were in effect at the relevant time, particularly in light of the lack of evidence that the old rule was being enforced.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 20, 2022








